A( ) 91   I    I   II   I   Ururniiul   (ornpIunt
                                                                                                                                                     FILE
                                                                                                                                                   MAR 22
                                                    [JNJTFD STATFS DISTRICT                                 COURT                                           2Q23



                                                                       \\stcniDistriof'ftxas
                                                                                                                                                          E UT' CLERK
                            United States of America

                                                                                               Case No.
                                Lorena MORENO




                                        l)i'ksidwzl(si




                                                                 CRIMINAL COMPLAINT
              I. the complainant in this case. state that the                follot ing     is true to the best   of my kno ledge and belief.
                                          of                   03/20/2023                      in the county of'                     El Paso                in the
On or about the date(s)
          Western                District of'                  Texas               .   the delndant(s) violated:

                   ('ode Se'iiopz                                                                 Offense IA'scriplion
21 USC 952
                                                                knowlingly and intentionally import into the United States from the Republic of
                                                                Mexico a quantity of Fentanyl, to wit; approximately 79.3 grams (gross
                                                                weight) of Fentanyl, a Schedule II Controlled Substance:




              i'his criminal complaint is                  based on these facts:




              ji( Continued on the attached sheet.

                                                                                                        ';;7              /--
                                                                                                                     ('onplain        .v
                                                                                                                                            ,




                                                                                                                                           .ng?znlzlrt'

                                                                                                          Victor H. Flores Jr. HSI Special Agent
                                                                                                                    Printed ,lnne and title

 Sworn to beibre me and signed in my presence.


 Date:                      03/22/2023
                                                                                                                        ./udge   r   signature

 City and state:                                         El Paso, Texas                               Robert F. Castaneda U.S. Magistrate Judge
                                                                                                                  l'r,nk'd annie and (lift'
                                   Affidavit

On March 20, 2023, at approximately 2331 hours, Lorena MORENO entered the United
States from the Republic of Mexico through the Paso Del Norte (PDN) Port of Entry
(POE), in El Paso, Texas, which is within the Western District of Texas. MORENO
crossed into the U.S. through the pedestrian lanes of the POE.

A Customs and Border Protection Officer (CBPO) was manning the primary pedestrian
lanes when MORENO applied for admission. During the inspection, the primary CBPO
asked MORENO for positive identification. MORENO said she did not have any
identification on her person but showed the Primary CBPO a picture of her New Mexico
Driver's License on her cellular phone. The primary CBPO noticed MORENO's voice
was cracking as she gave a negative customs declaration. MORENO was referred to
Passport Control Secondary (PCS) for further inspection.

In PCS, the Primary CBPO conducted a supervisory approved pat down of MORENO
witnessed by a Secondary CBPO. During the pat down, the Primary CBPO felt
something hard in MORENO's crotch area. MORENO stated she could not remove the
item because it was a tampon. A supervisory approved partial pat down was then
conducted in the restroom by the Secondary CBPO and witnessed by the Primary CBPO
and an additional female CBPO. During the partial pat down, the Secondary CBPO
observed a bundle, white in color, exposed from her vaginal area. MORENO said the
item was a tampon and a maxi pad and did not feel comfortable removing the items in
front of the CBPOs. The Secondary CBPO asked if she wanted to go to the hospital to
have a doctor remove the items to which MORENO agreed. MORENO was then
escorted to a secure holding area awaiting transport to the hospital.

While waiting for hospital transport, a Customs Enforcement Officer (CEO) used his
Human/Narcotics Detector Dog (HNDD) to conduct a canine sweep of MORENO. The
HNDD alerted to a trained odor emanating from the crotch area of MORENO. After the
positive canine alert MORENO agreed to remove the bundle herself. MORENO was
then escorted to the restroom where MORENO voluntarily removed one condom
wrapped bundle containing blue pills from her vaginal cavity.

A random sample of the blue pills was field tested which yielded positive for the
properties of fentanyl. The total aggregated weight of the bundle containing the blue pills
was approximately 79.3 grams.

MORENO was asked by a CBPO if she could provide the passcode to her cellular phone.
MORENO agreed and provided a passeode. A CBPO attempted to enter the passcode
provided by MORENO which caused a factory reset on the phone.

Homeland Security Investigations (HSI) Special Agents (SAs) Victor Flores and Eric
Sanchez responded to the POE and advised MORENO of her Miranda Rights in the
English language. MORENO acknowledged her rights and chose to speak with the
agents without the presence of an attorney.
MORENO said the bundle concealed within her vaginal cavity contained approximately
500-600 fentanyl pills.

MORENO said she was going to be paid somewhere between $500-$ 1,200 U.S.D. to
bring the fentanyl pills from Mexico to the United States.

Because this Affidavit is being submitted for the limited purpose of establishing probable
cause as set forth herein, I have not included each and every fact known to me concerning
this investigation.
